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                               EXHIBIT 1
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   VIRGINIA:
          In the Supreme Court of Virginia held at the Supreme Court Building in the
   City of Richmond on Tuesday the 17th day of January, 2023.

   A.A. and F.A.,                                                                        Petitioners,

   against          Record No. 220674
                    Circuit Court No. CL22000186-00

   Joshua Mast, et al.,                                                                  Respondents.

                              Upon a Motion To Proceed With Pseudonyms
                                  Justices Kelsey, Chafin, and Russell

           This matter comes before the Court on the Petitioners’ Motion To Proceed With
   Pseudonyms, filed on January 10, 2023. Exercising our “inherent authority to control our Court
   records,” In re Bennett, 301 Va. 68, 68 (2022), we have the “discretion” in special circumstances
   “to allow a party to proceed anonymously,” Am. Online, Inc. v. Anonymous Publicly Traded Co.,
   261 Va. 350, 364 (2001). When we exercise that discretion, however, it is always with the
   caveat “that circumstances may change as litigation progresses, thereby requiring reconsideration
   of initial rulings.” Id.
           Based upon the Petitioners’ factual proffers in this case, the Court provisionally grants
   the Motion To Proceed With Pseudonyms to the extent it seeks to replace the full names of the
   Petitioners with pseudonyms (“A.A.” and “F.A.”) in all orders, docket entries, and pleadings or
   other documents previously filed in this Court. We direct the Clerk of Court to make these
   substitutions in all previously filed documents.1 Until further order of the Court, the use of
   pseudonyms for the Petitioners shall be required for all future filings, docket entries, or other
   documents submitted to this Court by the Petitioners, Respondents, or other intervening parties.
   If the Respondents have any objections to this provisional decision, they shall file their
   objections with supporting authorities within 20 days of the date of this Order. The Court will
   thereafter reconsider this issue.


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            The Respondents did not join in the Petitioners’ motion and did not file a separate
   motion seeking to replace their full names with pseudonyms. Nor has any argument specific to
   the Respondents been advanced in this Court regarding the need to do so. We thus will not
   address this issue at this time.
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          The Petitioners’ motion also seeks an order requiring that the child who is the subject of
   this litigation not be named in any orders, docket entries, pleadings, or other documents
   previously filed or later filed in this Court. The motion, however, does not address specifically
   the factual or legal basis for this request. Nor does the motion explain how the name given to the
   child by the Respondents would or could reveal the identity of the Petitioners. As an interim
   measure, however, the Court directs the Clerk of Court to redact the child’s name in all
   documents previously filed in this Court. The Court further directs the parties to file
   simultaneous briefs on this issue within 20 days of the date of this Order. The Court will
   thereafter rule on the Petitioners’ request that the child be identified by a pseudonym or other
   anonymous word or phrase.

          The provisional rulings in this Order are subject to reconsideration in the event of
   changed circumstances or later adjudications in the trial court.

          It is so ORDERED.


                                                            A Copy,

                                                               Teste:


                                                                                         Clerk




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